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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                            Plaintiff,


               v.                                        Case No. 1:23-cr-343 (ACR)


CHARLES EDWARD LITTLEJOHN,


                         Defendant,


 ORDER AUTHORIZING THE USE OF ALTERNATIVE VICTIM NOTIFICATION
           PROCEDURES PURSUANT TO 18 U.S.C. § 3771(d)(2)

       This cause having come before the Court on the United States of America’s unopposed

Motion to Provide Alternative Victim Notification Pursuant to 18 U.S.C. § 3771(d)(2), Dkt. 4, it

is hereby ORDERED and ADJUDGED as follows.

       The Government’s unopposed motion is GRANTED. The Court finds that (1) the

number of potential victims in this case makes it impracticable to provide all of the victims the

rights provided under 18 U.S.C. § 3771(a); (2) the “[m]ultiple crime victims” provision of the

Crime Victims’ Rights Act applies to this case, id. § 3771(d)(2); and (3) the means of notifying

potential victims set forth in the motion constitute a “reasonable procedure” to give effect to

and ensure compliance with the notice provisions of the Act, id.
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        It is therefore ORDERED, pursuant to 18 U.S.C. § 3771(d)(2), that the United States is

 authorized to comply with 18 U.S.C. § 3771(a) by posting information relevant to potential

 victims in this case on the public website of the U.S. Department of Justice.




Date: October 10, 2023

                                                     ANA C. REYES
                                                     United States District Judge
